                              3:19-cv-03010-SEM-TSH # 59      Page 1 of 3                                         E-FILED
                                                                                 Tuesday, 31 December, 2019 12:44:33 PM
                                                                                             Clerk, U.S. District Court, ILCD
                                           IN THE UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF ILLINOIS
                                                   SPRINGFIELD DIVISION

                        LARRY PIPPION, as Representative of
                        the Estate of Larry Earvin,

                              Plaintiff,
                                                                           No.: 19-cv-03010
                                    v.

                        SGT. WILLIE HEDDEN, LT.                    JURY DEMAND
                        BENJAMIN BURNETT, LT. BLAKE
                        HAUBRICH, CORRECTIONAL
                        OFFICER ALEX BANTA, WARDEN
                        CAMERON WATSON, ASSISTANT
                        WARDEN STEVE SNYDER,
                        individually,

                              Defendant.


                                        DEFENDANT ALEX BANTA’S RESPONSE
                                   TO THE COURT’S DECEMBER 11, 2019 TEXT ORDER

                              Defendant ALEX BANTA, by his attorneys, and in response to the Court’s

                        December 11, 2019 Text Order, states as follows:

                              1.     Defendant Banta has no objection to Plaintiff’s Motion for Leave (d/e

                    #56) nor to Plaintiff’s Motion to Withdraw its Motion (d/e 57), but requests that the

                    Court permit a reasonable time for Defendant Banta to review and, if need be, to

                    respond to any renewed motion by Plaintiff for leave to file an amended complaint.

                              2.    Defendant Banta takes no position as to the lifting of the stay as to co-

                    defendants Haubrich and Burnett who have not been indicted. However, Defendant

                    Banta concurs in and adopts the position stated in Defendant Hedden’s Notice of

                    Compliance filed December 31, 2019 (d/e #58), that it is appropriate to permit a stay
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                           3:19-cv-03010-SEM-TSH # 59          Page 2 of 3



                    to remain in place as to both indicted and unindicted civil defendants in order to

                    protect the interest of all parties and to allow for efficient discovery.

                           3.     Defendant Banta also concurs in and adopts the position stated in

                    Defendant Hedden’s Notice, that should the Court partially lift the stay as to co-

                    defendants Haubrich and Burnett, that Defendant Banta likewise be permitted to

                    participate in such discovery as to unindicated co-defendants only, without this being

                    considered a waiver by Defendant Banta of his Fifth Amendment rights or violating

                    the remaining stay, in order that Defendant Banta can protect his interests.



                                                                      ALEX BANTA, Defendant,


                                                              BY:     _/s/Stanley N. Wasser______________
                                                                      Stanley N. Wasser, #02947307
                                                                      FeldmanWasser
                                                                      1307 South Seventh Street
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                              3:19-cv-03010-SEM-TSH # 59        Page 3 of 3



                                                  CERTIFICATE OF SERVICE

                               I hereby certify that on December 31, 2019, I electronically filed the foregoing
                        with the Clerk of the Court using the CM/ECF system which will send notification of
                        such filing to the following:

                                     Ronak P. Maisuria          ronak@eolawus.com

                                     Michael Oppenheimer        michael@eolawus.com

                                     Theresa M. Powell          tpowell@heylroyster.com

                                     Richard D. Frazier         frazier@springfieldlawfirm.com

                                     Laura K. Bautista          LBautista@atg.state.il.us

                                     Christopher A. Koester    koester@taylorlaw.net



                        and I hereby certify that I have mailed by United States Postal Service the document
                        to the following non-CM/ECF participants:

                                     Not Applicable




                                                                _/s/Stanley N. Wasser______________
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